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                     IN UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF NEW JERSEY (TRENTON)

Rysheedna Smith,                             Case No.:

                Plaintiff,

      vs.                                    COMPLAINT

Equifax Information Services, LLC,
a Georgia limited liability company,         JURY TRIAL DEMAND

Trans Union, LLC,
an Illinois limited liability company,

Carvant Financial, LLC,
a foreign limited liability company, and

Healthcare Revenue Recovery Group,
LLC, under the fictitious name of ARS
Account Resolution Services, a foreign
limited liability company,

                Defendants.



      NOW COMES THE PLAINTIFF, RYSHEEDNA SMITH, BY AND

THROUGH COUNSEL, DANIEL ZEMEL, and for her Complaint against the

Defendants, pleads as follows:

                                  JURISDICTION

   1. Jurisdiction of this court arises under 15 U.S.C. §1681p.
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  2. This is an action brought by a consumer for violation of the Fair Credit

     Reporting Act (15 U.S.C. §1681, et seq. [hereinafter “FCRA”]).


                                    VENUE

  3. The transactions and occurrences which give rise to this action occurred in

     the City of Trenton, Mercer County, New Jersey.

  4. Venue is proper in the District of New Jersey, Trenton Division.

                                   PARTIES

  5. Plaintiff is a natural person residing in the City of Trenton, Mercer County,

     New Jersey.

  6. The Defendants to this lawsuit are:

        a. Equifax Information Services, LLC (“Equifax”) is a Georgia limited

           liability company that conducts business in the State of New Jersey;

        b. Trans Union, LLC (“Trans Union”) is an Illinois limited liability

           company that conducts business in the State of New Jersey;

        c. Carvant Financial, LLC (“Carvant Financial”) is a foreign limited

           liability company that conducts business in the State of New Jersey;

           and

        d. Healthcare Revenue Recovery Group, LLC, under the fictitious name

           of ARS Account Resolution Services (“Health Revenue”) is a foreign

           limited liability company.
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                         GENERAL ALLEGATIONS

  7. Carvant Financial and Healthcare Revenue (collectively, “Furnishers”) are

     inaccurately reporting their tradelines (“Errant Tradelines”) on Plaintiff’s

     Equifax and Trans Union credit disclosures.

  8. Carvant Financial is inaccurately reporting its Errant Tradeline with an

     erroneous monthly payment amount of $363.00 on Plaintiff’s Equifax credit

     disclosure.

  9. Healthcare Revenue is inaccurately reporting its Errant Tradelines with an

     erroneous notation of “accounts in dispute” on Plaintiff’s Equifax and Trans

     Union credit disclosures.

  10.The account reflected by the Carvant Financial Errant Tradeline was closed

     by Carvant Financial. The vehicle which is the subject of the tradeline was

     repossessed, therefore, Plaintiff no longer has an obligation to make monthly

     payments to Carvant Financial. Hence, the entire balance is due presently as

     Plaintiff has neither the right nor the obligation to satisfy this debt in

     monthly installments.

  11.The Errant Tradeline should be reported with the monthly payment amount

     of $0.00. Per credit reporting industry standard and the Credit Reporting

     Resource Guide, which is the credit reporting manual created by the three
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     major credit bureaus, no furnisher may report a monthly payment on a

     closed account.

  12. Plaintiff no longer disputes the Healthcare Revenue Errant Tradelines.

  13.On February 4, 2020, Plaintiff obtained her Equifax and Trans Union credit

     disclosure and noticed the Errant Tradelines inaccurately reporting with an

     erroneous monthly payment amount and erroneous notation of “accounts in

     dispute.”

  14.On or about March 16, 2020, Plaintiff submitted a letter to Equifax disputing

     the Errant Tradelines. In her dispute letter, Plaintiff explained that the

     account reflected by the Errant Tradeline was closed. Therefore, she no

     longer has an obligation to make monthly payments to Carvant Financial.

     She asked Equifax to report the monthly payment amount as $0.00.

  15. On the same date, Plaintiff submitted a letter to Equifax and Trans Union

     disputing the erroneous notation of “accounts in dispute.”

  16. In response to Plaintiff's dispute letter, dated April 6, 2020, Defendant

     Trans Union verified that the reporting of the erroneous notation of

     “Accounts in dispute” were accurate.

  17.Equifax and Trans Union forwarded Plaintiff’s consumer disputes to the

     Furnishers. The Furnishers received Plaintiff’s consumer dispute from

     Equifax and Trans Union.
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  18. Equifax, Trans Union and the Furnishers did not consult the Credit Reporting

     Resource Guide as part of its investigation of Plaintiff’s dispute.

  19.Plaintiff had not received Equifax’s or Trans Union’s investigation results.

     Therefore, on April 27, 2020, Plaintiff obtained her Equifax and Trans

     Union credit disclosures, which showed that Equifax, Trans Union and the

     Furnishers failed or refused to report the monthly payment amount as $0.00.

  20.As a direct and proximate cause of the Defendants’ negligent and/or willful

     failure to comply with the Fair Credit Reporting Act, 15 U.S.C. § 1681,

     et seq., Plaintiff has suffered credit and emotional damages. Plaintiff has also

     experienced undue stress and anxiety due to Defendants’ failure to correct the

     errors in her credit files or improve her financial situation by obtaining new

     or more favorable credit terms as a result of the Defendants’ violations of the

     FCRA.


                                    COUNT I

NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT BY
                  CARVANT FINANCIAL

  21. Plaintiff realleges the above paragraphs as if recited verbatim.

  22.After being informed by Equifax of Plaintiff’s consumer dispute of the

     erroneous monthly payment amount, Carvant Financial negligently failed to
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     conduct a proper investigation of Plaintiff’s dispute as required by 15 USC

     1681s-2(b).

  23.Carvant Financial negligently failed to review all relevant information

     available to it and provided by Equifax in conducting its reinvestigation as

     required by 15 USC 1681s-2(b). Specifically, it failed to direct Equifax to

     report the monthly payment amount as $0.00.

  24.The Errant Tradeline is inaccurate and creating a misleading impression on

     Plaintiff’s consumer credit file with Equifax to which it is reporting such

     tradeline.

  25.As a direct and proximate cause of Carvant Financial’s negligent failure to

     perform its duties under the FCRA, Plaintiff has suffered damages, mental

     anguish, suffering, humiliation, and embarrassment.

  26.Carvant Financial is liable to Plaintiff by reason of its violations of the

     FCRA in an amount to be determined by the trier fact together with

     reasonable attorneys’ fees pursuant to 15 USC 1681o.

  27.Plaintiff has a private right of action to assert claims against Carvant

     Financial arising under 15 USC 1681s-2(b).
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   WHEREFORE, PLAINTIFF PRAYS that this court grant her a judgment

against the Defendant Carvant Financial for damages, costs, interest, and attorneys’

fees.


                                       COUNT II

 WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT BY
                  CARVANT FINANCIAL

   28. Plaintiff realleges the above paragraphs as if recited verbatim.

   29.After being informed by Equifax that Plaintiff disputed the accuracy of the

        information it was providing, Carvant Financial willfully failed to conduct a

        proper reinvestigation of Plaintiff’s dispute.

   30.Carvant Financial willfully failed to review all relevant information

        available to it and provided by Equifax as required by 15 USC 1681s-2(b).

   31.As a direct and proximate cause of Carvant Financial’s willful failure to

        perform its duties under the FCRA, Plaintiff has suffered damages, mental

        anguish, suffering, humiliation, and embarrassment.

   32.Carvant Financial is liable to Plaintiff for either statutory damages or actual

        damages she has sustained by reason of its violations of the FCRA in an

        amount to be determined by the trier fact, together with an award of punitive

        damages in the amount to be determined by the trier of fact, as well as for

        reasonable attorneys’ fees that she may recover pursuant to 15 USC 1681n.
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   WHEREFORE, PLAINTIFF PRAYS that this court grant her a judgment

against the Defendant Carvant Financial for the greater of statutory or actual

damages, plus punitive damages, along with costs, interest, and attorneys’ fees.

                                      COUNT III

NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT BY
                 HEALTHCARE REVENUE

   33.Plaintiff realleges the above paragraphs as if recited verbatim.

   34.After being informed by Equifax and Trans Union of Plaintiff’s consumer

      dispute of the erroneous notations, Health Revenue negligently failed to

      conduct a proper investigation of Plaintiff’s dispute as required by 15 USC

      1681s-2(b).

   35.Health Revenue negligently failed to review all relevant information

      available to it and provided by Equifax and Trans Union in conducting its

      reinvestigation as required by 15 USC 1681s-2(b). Specifically, it failed to

      direct Equifax and Trans Union to report the erroneous notation of “accounts

      in dispute.”

   36.The Errant Tradelines are inaccurate and creating a misleading impression

      on Plaintiff’s consumer credit files with Equifax and Trans Union to which it

      is reporting such tradelines.
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   37.As a direct and proximate cause of Healthcare Revenue’s negligent failure to

      perform its duties under the FCRA, Plaintiff has suffered damages, mental

      anguish, suffering, humiliation, and embarrassment.

   38.Healthcare Revenue is liable to Plaintiff by reason of its violations of the

      FCRA in an amount to be determined by the trier fact together with

      reasonable attorneys’ fees pursuant to 15 USC 1681o.

   39.Plaintiff has a private right of action to assert claims against Healthcare

      Revenue arising under 15 USC 1681s-2(b).

   WHEREFORE, PLAINTIFF PRAYS that this court grant her a judgment

against the Defendant Healthcare Revenue for damages, costs, interest, and

attorneys’ fees.


                                    COUNT IV

 WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT BY
                 HEALTHCARE REVENUE

   40. Plaintiff realleges the above paragraphs as if recited verbatim.

   41.After being informed by Equifax and Trans Union that Plaintiff disputed the

      accuracy of the information it was providing, Healthcare Revenue willfully

      failed to conduct a proper reinvestigation of Plaintiff’s dispute.
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   42.Healthcare Revenue willfully failed to review all relevant information

      available to it and provided by Equifax and Trans Union as required by 15

      USC 1681s-2(b).

   43.As a direct and proximate cause of Healthcare Revenue’s willful failure to

      perform its duties under the FCRA, Plaintiff has suffered damages, mental

      anguish, suffering, humiliation, and embarrassment.

   44.Healthcare Revenue is liable to Plaintiff for either statutory damages or

      actual damages she has sustained by reason of its violations of the FCRA in

      an amount to be determined by the trier fact, together with an award of

      punitive damages in the amount to be determined by the trier of fact, as well

      as for reasonable attorneys’ fees that she may recover pursuant to 15 USC

      1681n.



   WHEREFORE, PLAINTIFF PRAYS that this court grant her a judgment

against the Defendant Healthcare Revenue for the greater of statutory or actual

damages, plus punitive damages, along with costs, interest, and attorneys’ fees.
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                                    COUNT V

  NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                      BY EQUIFAX

   45.Plaintiff realleges the above paragraphs as if recited verbatim.

   46.Defendant Equifax prepared, compiled, issued, assembled, transferred,

      published, and otherwise reproduced consumer reports regarding Plaintiff as

      that term is defined in 15 USC 1681a.

   47.Such reports contained information about Plaintiff that was false, misleading,

      and inaccurate.

   48.Equifax negligently failed to maintain and/or follow reasonable procedures to

      assure maximum possible accuracy of the information it reported to one or

      more third parties pertaining to Plaintiff, in violation of 15 USC 1681e(b).

   49. After receiving Plaintiff’s consumer dispute to the Errant Tradelines, Equifax

      negligently failed to conduct a reasonable reinvestigation as required by 15

      U.S.C. 1681i.

   50.As a direct and proximate cause of Equifax’s negligent failure to perform its

      duties under the FCRA, Plaintiff has suffered actual damages, mental anguish

      and suffering, humiliation, and embarrassment.

   51.Equifax is liable to Plaintiff by reason of its violation of the FCRA in an

      amount to be determined by the trier fact together with her reasonable

      attorneys’ fees pursuant to 15 USC 1681o.
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      WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment

against Equifax for actual damages, costs, interest, and attorneys’ fees.



                                    COUNT VI

    WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                       BY EQUIFAX

   52.Plaintiff realleges the above paragraphs as if recited verbatim.

   53.Defendant Equifax prepared, compiled, issued, assembled, transferred,

      published, and otherwise reproduced consumer reports regarding Plaintiff as

      that term is defined in 15 USC 1681a.

   54.Such reports contained information about Plaintiff that was false, misleading,

      and inaccurate.

   55.Equifax willfully failed to maintain and/or follow reasonable procedures to

      assure maximum possible accuracy of the information that it reported to one

      or more third parties pertaining to Plaintiff, in violation of 15 USC 1681e(b).

   56. After receiving Plaintiff’s consumer dispute to the Errant Tradelines, Equifax

      willfully failed to conduct a reasonable reinvestigation as required by 15

      U.S.C. 1681i.
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   57.As a direct and proximate cause of Equifax’s willful failure to perform its

      duties under the FCRA, Plaintiff has suffered actual damages, mental anguish

      and suffering, humiliation, and embarrassment.

   58.Equifax is liable to Plaintiff by reason of its violations of the FCRA in an

      amount to be determined by the trier of fact together with her reasonable

      attorneys’ fees pursuant to 15 USC 1681n.



      WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment

against Defendant Equifax for the greater of statutory or actual damages, plus

punitive damages along with costs, interest, and reasonable attorneys’ fees.



                                   COUNT VII

  NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                    BY TRANS UNION

   59.Plaintiff realleges the above paragraphs as if recited verbatim.

   60.Defendant Trans Union prepared, compiled, issued, assembled, transferred,

      published, and otherwise reproduced consumer reports regarding Plaintiff as

      that term is defined in 15 USC 1681a.

   61.Such reports contained information about Plaintiff that was false, misleading,

      and inaccurate.
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   62.Trans Union negligently failed to maintain and/or follow reasonable

      procedures to assure maximum possible accuracy of the information it

      reported to one or more third parties pertaining to Plaintiff, in violation of 15

      USC 1681e(b).

   63. After receiving Plaintiff’s consumer dispute to the Errant Tradeline, Trans

      Union negligently failed to conduct a reasonable reinvestigation as required

      by 15 U.S.C. 1681i.

   64.As a direct and proximate cause of Trans Union’s negligent failure to perform

      its duties under the FCRA, Plaintiff has suffered actual damages, mental

      anguish and suffering, humiliation, and embarrassment.

   65.Trans Union is liable to Plaintiff by reason of its violation of the FCRA in an

      amount to be determined by the trier fact together with her reasonable

      attorneys’ fees pursuant to 15 USC 1681o.



      WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment

against Trans Union for actual damages, costs, interest, and attorneys’ fees.



                                   COUNT VIII

    WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                     BY TRANS UNION
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   66.Plaintiff realleges the above paragraphs as if recited verbatim.


   67.Defendant Trans Union prepared, compiled, issued, assembled, transferred,

      published, and otherwise reproduced consumer reports regarding Plaintiff as

      that term is defined in 15 USC 1681a.

   68.Such reports contained information about Plaintiff that was false, misleading,

      and inaccurate.

   69.Trans Union willfully failed to maintain and/or follow reasonable procedures

      to assure maximum possible accuracy of the information that it reported to

      one or more third parties pertaining to Plaintiff, in violation of 15 USC

      1681e(b).

   70. After receiving Plaintiff’s consumer dispute to the Errant Tradeline, Trans

      Union willfully failed to conduct a reasonable reinvestigation as required by

      15 U.S.C. 1681i.

   71.As a direct and proximate cause of Trans Union’s willful failure to perform

      its duties under the FCRA, Plaintiff has suffered actual damages, mental

      anguish and suffering, humiliation, and embarrassment.

   72.Trans Union is liable to Plaintiff by reason of its violations of the FCRA in an

      amount to be determined by the trier of fact together with her reasonable

      attorneys’ fees pursuant to 15 USC 1681n.
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      WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment

against Defendant Trans Union for the greater of statutory or actual damages, plus

punitive damages along with costs, interest, and reasonable attorneys’ fees.




                                JURY DEMAND

      Plaintiff hereby demands a trial by Jury.



DATED: July 22, 2020




                                                    By: /s/ Daniel Zemel
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